932 F.2d 1571
    ALASKA AIRLINES, INC., Plaintiff-Appellant,v.UNITED AIRLINES, INC., Defendant-Appellee.ALASKA AIRLINES, INC., Plaintiff-Appellee,v.UNITED AIRLINES, INC., Defendant-Appellant.
    Nos. 89-35054, 89-35226.
    United States Court of Appeals,Ninth Circuit.
    May 22, 1991.
    
      James N. Leik, Perkins, Coie, Anchorage, Alaska, for plaintiff-appellant-cross-appellee.
      J. Craig Busey, United Air Lines, Inc., Chicago, Ill., David W. Oesting, Davis, Wright &amp; Jones, Anchorage, Alaska, for defendant-appellee-cross-appellant.
      Before KOELSCH, ALARCON and RYMER, Circuit Judges.
    
    ORDER
    
      1
      Following our opinion and order certifying questions to the Alaska Supreme Court in this matter, Alaska Airlines v. United Airlines, 902 F.2d 1400 (9th Cir.1990), the supreme court agreed to answer the three specific questions raised.  Pursuant to a settlement agreement between the parties, the appeal in our court has been dismissed and the certification request to the Alaska Supreme Court is accordingly moot.
    
    